 8:05-cr-00050-LES-TDT    Doc # 32   Filed: 08/04/05    Page 1 of 1 - Page ID # 50



               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:05CR50
                              )
          v.                  )
                              )
JAIME MARTINEZ-HERNANDEZ,     )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue Rule 11 hearing.         For good cause shown,

           IT IS ORDERED that said motion is granted; the Rule 11

hearing is rescheduled for:

                Friday, August 19, 2005, at 8:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The ends of justice will be served by continuing this

case and outweigh the interests of the public and the defendant

in a speedy trial.       The additional time between August 8, 2005,

and August 19, 2005, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 4th day of August, 2005.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
